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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MASTR ADJUSTABLE RATE
MORTGAGES TRUST 2006-0A2, MASTR
ADJUSTABLE RATE MORTGAGES
TRUST 2007-1, AND MASTR
ADJUSTABLE RATE MORTGAGES
TRUST 2007-3,                                                          12-Civ-7322 (HB) (JCF)

                        Plaintiffs,                                    ECFCase

                -against-

UBS REAL ESTATE SECURITIES INC.,

                        Defendant.

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    Declaration of Diane Reynolds in Support of Trustee U.S. Bank's Opposition to
                UBS's Motion for Sanctions for Spoliation of Evidence


        Pursuant to 28 U.S.C. § 1746, Diane Reynolds hereby declares under penalty of

perjury as follows:
          1.     I am an employee of U.S. Bank National Association ("Trustee") and
respectfully submit this declaration in support of Trustee's Opposition to UBS' s Motion
for Sanctions for Spoliation of Evidence.
          2.




          3.
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      4.



      5.



      6.




      7.




Executed on July 12, 2013.                  ~/-LA~~
                                        Diane Reynolds




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